
This appeal is from a determination of a deficiency in income tax for the year 1918 in the amount of $4,063.11. The* deficiency letter further showed an overassessment for the year 1919 in the amount of $5,462.67. It is claimed by the taxpayer that a waiver signed by the executrix after the expiration of the five-year period of limitation is invalid and of no effect.
From the evidence submitted the Board makes the following
FINDINGS OF FACT.
The taxpayer, Samuel G. Heinrich (deceased), was an individual residing in Buffalo, N. Y. He died March 26, 1919, and Rose B. Heinrich was appointed sole executrix of his estate under the laws of the State of New York.
The tax return of Samuel G. Heinrich, a partner in the copartnership of Link &amp; Co., was filed on or about March 15, 1919, for the calendar year 1918.
No additional tax was assessed against the taxpayer within five years after March 15, 1919.
Under date of July 8, 1924, a paper was signed which read as follows:
*407July 8, 1924.
INCOME AND PROFITS TAX WAIVER.
In pursuance of the provisions of subdivision (d) of section 250 of the Revenue Act of 1921, Mrs. Rose B. Heinrich, executrix estate of Samual G-. Heinrich, and the Commissioner of Internal Revenue, hereby consent to a determination, assessment, and collection of the amount of income, excess profits, or war profits taxes due under any return made by or on behalf of the said Mrs. Rose B. Heinrich, Ex., for the years 1918 under the Revenue Act of 1921 or under prior income, excess profits, or war profits tax acts, or under section 38 of the act entitled “An act to provide revenue, equalize duties, and encourage the industries of the United States, and for other purposes,” approved August 5, 1909. This waiver is in effect from the date it is signed by the taxpayer and will remain in effect for a period of one year after the expiration of the statutory period of limitation, or the statutory period of limitation as extended by any waivers already on file with the Bureau, within which assessments of taxes may be made for the year or years mentioned.
(Signed) Ros® B. Heinrich, Taxpayer.
William J. Schumaker,

Commissioner of Deeds.

Approved July 22, 1924.
D. H. Blair,

Commissioner of Internal Revenue.

As a waiver it was approved by the Commissioner July 22, 1924.
The original return for 1918 showed a tax of $2,755.76, which amount was duly paid. The Commissioner under date of March 3, 1923, notified the executrix of an overassessment for 1918 in the amount of $1,263.56, which amount was later refunded to the executrix. In the same letter the executrix was notified of an additional tax for the year 1919 of $5,751.27.
In a deficiency letter dated January 16, 1925, the Commissioner notified the executrix of a deficiency in tax for the' year 1918 amounting to $4,063.17 and an overassessment for 1919 of. $5,462.67. The taxpayer duly appealed to this Board from the deficiency for 1918.
DECISION.
The deficiency determined by the Commissioner is disallowed.
On reference to the Board, Aettndell took no part in the consideration.
